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                                   2                                     UNITED STATES DISTRICT COURT

                                   3                                    NORTHERN DISTRICT OF CALIFORNIA

                                   4

                                   5     TERESA MACCLELLAND, et al.,                        Case No. 21-cv-08592-EMC
                                   6                      Plaintiffs,
                                                                                            ORDER GRANTING IN PART
                                   7               v.                                       DENYING IN PART PLAINTIFF'S
                                                                                            ADMINISTRATIVE MOTION TO
                                   8     CELLCO PARTNERSHIP, et al.,                        TAKE OFF CALENDAR MOTION FOR
                                                                                            EQUITABLE REDISTRIBUTION
                                   9                      Defendants.                       (DKT. NO. 90)
                                  10
                                                                                            Docket No. 92
                                  11

                                  12             Proposed intervenors in this action have filed two motions: a Motion to Intervene (Docket
Northern District of California
 United States District Court




                                  13   No. 89), and a Motion for Equitable Distribution of Attorneys’ Fees to the Class (Docket No. 90).
                                  14   Plaintiffs in this action have filed an Administrative Motion to Take Off Calendar Motion for
                                  15   Equitable Redistribution (Docket No. 92). Plaintiffs request that the Court first adjudicate the
                                  16   Motion to Intervene (Docket No. 89) before scheduling the Motion for Equitable Distribution
                                  17   (Docket No. 90). Proposed intervenors oppose Plaintiffs’ Administrative Motion (Docket No. 93).
                                  18             The Court GRANTS in part and DENIES in part Plaintiffs’ Administrative Motion
                                  19   (Docket No. 92). The Court will hear the two motions sequentially, rather than in tandem, but the
                                  20   Motion for Equitable Distribution is to remain on the calendar for the time being. Docket No. 89
                                  21   is to be heard on April 15, 2024, at 1:30 p.m., by Zoom videoconference. Docket No. 90 is to be
                                  22   heard on May 9, 2024, at 1:30 p.m., by Zoom videoconference. This Order disposes of Docket
                                  23   No. 92.
                                  24

                                  25             IT IS SO ORDERED.
                                  26   Dated: March 13, 2024
                                  27                                                    ______________________________________
                                                                                         EDWARD M. CHEN
                                  28                                                     United States District Judge
